Case 1:05-cv-00377-WDM-BNB Document 167-7

4165/2008 Keeling, B.0,, Thmothy Barnes

 

 

 

   

 

 

Filed 02/15/07 USDC Colorado Page 1 of 3

3/45/2006 Keellng, D.O., Timothy Barnes

 

 

 

 

    

 

 

   

L IN THE UNITHD STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO 1 PNDEX
2 Case No. 2005-9H-377 (BNA) 2 EXAMINATION OF TIMOTIIY BARNES KEELING, B.O. PAGE March 15,
3 3 By Mr. Trine 83
4 DEPOSITIGN GF: TIMOTHY BARNES KEELING, D,G. March 15, 2006 4 By Hr. Ringel 60
5 . 2 By Hr. Marks 42
6 MOISES CARRANZA-REYES, é By fc, Jurs 4, 106
7 Plaintiff, 7 By Mr. Murray =
8 ve 8
9 PARK COUNPY, a public entity of the State of Colorado and its governing boYrd, T INITIAL DEPOSITION &)
10 COMMISSIONERS; PARK COUNTY SHERIFF'S OFFICE, a public entity of the State 10 Col 24-A Document 65
li individually and in his official capacity as Sheriff of Park County, Colorllo; {Original exhibits attached to original transcript;
1? his capacity as Captain of Park County Sheriff's Departmont; VICKIE PAULSEi2 indcopies included in coutinuing exhibit file maintained by Coffman Rep
13 official capacity as Registered Nurse for Park County, Colorado; JAMES BACI3AN, requested,)idually and in his
14 efficial capacity as Medical Director of the Park County Jail, 14
15 Defendants. 15 REQUESTED PORTIONS OF TESTHAONY; PAGE
16 lé Request for document production 43, 74 or informa
17 1)
18 13 REFERENCES TO EXHIBITS MARKED PREVIOUSLY:
igs TAKEN PURSUANT 10 NOTICE on behalf of the Defendants at le EXHIBIT WO, PAGE REFERENCE
70 340 Peak One Drive, Frisco, Colorado at 1:45 p.m. befere 24 é
at Laura L. Corning, Federal Certified Realtime Reporter,
22 Certified Short her anc Notary Public » vw ar
23 Coloracde, >
aa i
25
4 3

16/2006 Keeling, B.O., Timothy Barnes 35/2006 Keeling, D.O., Timothy Barnes
1 APPRARANCES 1 WHEREUPON, the wilhin proceedings were taken
2 For the Plain&iflf: WILLIAM &. TRINE, ESQ. firinepursuant to the Federal Rujes of Civil Procedure
3 1435 Arapahoe Boulder, 3color ‘TIMOTHY BARNES KEMLING, D.O.,
4 For the Defendants ANDREW D. RINGEL, ESQ. 4 having been first duly sworn to state the whole truth,
5 Park County, Park Hall & Evans, LLC County Board af 1255l7th was examined and testified as follows:
é Commissioners, Park Suite 600 County Sheriff's Office, Denver, Colotado & EAAMINAT LGN
7 Wegener and Gore: a BY MR. JOURS:
B For the Defendant JOSH MARKS, ESQ, Paulsen: Berg ¢ill & QO. Good afternoon, Dr, Keeling. My name is
gq 1/12 Pearl Street BoulYer, Cindrew Jurs and I represent Br. Bachman in this case, We
14 For the Defendant ANDREW W. JURS, £50. iD met each other just a moment ago before the deposition
11 Bachitan ! Johnson MeConaly & Sargent, F.C. Vt started. I'm going to be asking you questions about your
12 Suite %ao Glendale, Col?radoinvolvement in this Lawsuit, if I could.
13 For the Deponent: RICHARD L. MURRAY, JR., ESO. 13 MR. HURRAY: Let me interrupt a minute. FT
hq Montgomery LittLie Soran Murray 14 have a short comment that I'd like to put on the record
15 $4495 DTC Parkway Suitelsa0 for everybody, just to make sure everybody is on the same
1é Englewood, Colorado 80111 16 page, at leask with me, abouk what's going to happen
iz Also Present: fone i7 today.
1s it Dr. Keeling is here today. He's available
19 1S to provide testimony about his care and treatment, the
24 20 records that he's familiar with regarding his emergency
21 2k department contact. Ib is not his desire to formulate or
2? BE erovide opinions regarding care th occurred before he
23 ai olved with the patient or for care that occurred
24 afer he was involved with the pakient. Altthe I'm
2S Eu sure you all knew there are a couple of records that came

2 Paulsen’s A-22 4

aii

 
Case 1:05-cv-00377-WDM-BNB Document 167-7

3/15/2006 Keellng, D.O., Timothy Barnes

Qa. Starting three lines from the bottom of that
paragraph and ending two lines, there is a sentence which

states, "The patient had mild cold symptoms for the past

week." 8a you see that sentence?
A. Yes.
a, Where did you learn that information?
A. From the interview of the palient.
Oo. That's what the patient told you, then?
AY Or the nurse. Us.

Q. When you use the language “mild cold

symptoms," what does that mean to you as a physician?

A. To me it means runny nose, possibly a sore
throat.

Q. Anything elsa?

A. Sometimes earache.

Qo. in the Chief Complaint section there is also

other information. Docs this paragraph as a whole
accurately refleck whal you saw of the patient at the

time you saw him on March 8, 20037

A, I'm sorry. Birecl me to where we're
looking.
Uh the Chief Complaint paragraph, page 2, at

fin top, starting "Palient complains of" and ending

days.

 

A And your question one more Lime,

3/15/2006 Keeling, D.O., Timothy Barnes

Q. There is a deseription of the pakient's
condition in that paragraph, and I'is wondering if that
description accurately reflects whak you observed of Lhe
patient on March 8, 2003.

AL Yes.

G. Further down, let's see, there is the Review

at Symptoms and then there is Physician Exam, and

 

directly below that is a line that says, “Patient status:

Alert and cooperative." Do you see that on page 2?
P

A. Yes.
QO, What does "Alert and cooperative" mean?
A. Just as il says. The patient was alert and

he was cooperative.

 

a, So he's conscious and able to answer
questions?

A. Yas.

Qa. He is alert and cooperative means he is not
in sheck; is that true?

Aa.

Q. Not in critical condition?

A, That's true.

a. When you saw the patient, you took Lhe
histery, you did the exam, Ak what point did you

 

determine that you needed te have blood tesks or

tab work done?

26

Filed 02/15/07 USDC Colorado Page 2 of 3

 

3/45/2006 Keeling, D.O., Timothy Barnes

A, At that same Line.
Q. So that was as a resuit of that examination

and history?

A, Yas.
a. When you ordered tests, what did you order?
A. Refer back to page 1. Reading from the top

toa the bottom, EXG; IV lactated Ringer's times two;
Levaquin, 500 inilligrams EY; Tylenot, 750 milligrams
oral; CBC; chemistry 22; blood culture and sensitivity
times two; chest X-ray.

Qo. And you’re referring to page 1 in answering
that question?

A. Yes.

Q. Did you order the varicty of tests that you

just listed aL the same time or al different times?

A. At different times.

Q. Could you tell ine the order in which you
made khat -~ those orders?

A. The bleed work would have been obrained at

the same time as the IV was started. The EKG, I don't

recall exactly if it was before or after the IVs. The

    

hiood -- chest X-ray was

 

after the bleed cultures.

 

 

   

QF
15/2006 Keeling, D.O., Timothy Barnes

a. Se the blocd culture was the last diagnestic
test of the list of tests thak you went over a moment
ago, and as a result of that you ordered Levaquin?

Be The blood cultures was the last diagnostic
test, yes. The Levaquin, the antibickic, was
administered after the blood cultures are oblLained but
noL necessarily as a consequence of the higoad culture, as
those results would not be available until a later date.

Qa, I understand, So prior Lo -- strike that.
Are you able to estimate what time you would have ordered
Bhe Levaquin in this case?

A. My estimation is after 3:00 pom.

Q. And prior to the Levaquin being ordered at
approximately 3:06 p.m, -- of after 3:00 pom. I'm not
sure -- the paLient had received just Tylenol, isn't Ehat
the casa, a5 a medication?

A. Wekl, if you exclude oxyden and lactated
Ringer's.

Q. The patient would have received oxygen,
lactated Ringer's and Tylenol,

A. Yes.

a. Gol it. What are = for?

A That's an IY fluid for volume ex
Bod 1'11 add that he alse received eet um chloride,
ft milliequivalents oraily.

28

 

 
10

11

12

13

14

16

1?

18

tal

G

na

 

Case 1:05-cv-00377-WDM-BNB Document 167-7 Filed 02/15/07 USDC Colorado Page 3 of 3

3/15/2006 Keeallng, D,O,, Timothy Barnes

CERTIFICATION

I, LAURA L. CORNING, Federal Certified
Realtime Reporter and Certified Shorthand Reporter,
appointed to take the deposition of

TIMOTHY BARNES KEELING, 1).0.,
certify prior to the deposition the witness was sworn by
me to tell the truth; that the deposition was taken by nme
at 340 Peak One Drive, Friseo, Colorade on March 15,
2006; that the proceedings were reduced to typewritten
forn by computer-aided transcripkion consisting of 1190
Pages herein; Lhat the foregoing is an accurate
transcript of the proceedings.

I certify review of the -ranscript was not
requested on the record. lL further certify FE an not
velated to any party herein or their counsel and have no
interest in the result of this litigation.

IN WITH

  

S WHEREOF, I have hereunto sek my

hand this 22nd day of March, 2006,

LAURA L. CORMING

Feteral Certified Realtime Reporter Certified Shorthand Reporter

 

 

 

109
3/15/2006 Kealing, 0.9., Timothy Barnes
COFFMAN REPORTING & LITIGATION SUPPORT, INC. 1440 Hlake Shreet,
Denver, Coloratio BURUE BSL GIR 208

ANDREW W. JURS, BSQ. Johnson McConaty & Sargent, F.C.
400 South Colorado Boulevard Suite 900
Glendale, Colorado #0246
Re: Carranza-Reyes v. Park County
Depesition of: TIMOTHY BARNES KEELING, D.9. Date of Deposition; March 15, 2006
frial Date: None set
Bnclosed is:
[XX} ORIGINAL TRANSCREPT. Please retain unopened eriginal until it is required by any party in a
trial or hearing in the ahove matter.
(  } ORIGINAL SIGNATURE PAGE with | withoul corrections; copies provided Lo
other counsel; please append these seaied originals to original transcript in your possession,
(  ) No signature or correction sheets received.
(XX) Review of transcript not requested.
{ } 3a-day review unavailable. Signature/carrection

filed in amhicipation cf trial date,

 

pages ftorwarded te counsel handling signature.

See letter within deposition.

( 3} Copy of deposition, signature and correction pages sent £0 deponent. See letter within deposition.

{ 3 Signature not applicable.

  

ip

 

 

Follow-un documentation f ian via

cent Aitiending counsel

110

oh iad

 
